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                    EXHIBIT 39
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK, et al.,

                  Plaintiffs,

          V.
                                                          C.A. No. 1:25-cv-00196-MRD-PAS
  ROBERT F. KENNEDY, JR., in his official capacity
  as SECRETARY OF THE U.S. DEPARTMENT OF
  HEALTH AND HUMAN SERVICES, et al., •


                  Defendants.




                                DECLARATION OF ELANA MARTON



         1. I, Elana Marton, declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that

 the foregoing is true and correct:

        2. I am the Deputy Director and Counsel of the New York State Council on Children and

 Families (CCF). I am familiar with the information in the statements set forth below either through

 personal knowledge, in consultation with CCF staff, or from documents that have been provided

 to and reviewed by me.

        3. I submit this Declaration in support of the Plaintiff States' Motion for a Preliminary

 Injunction.

 Professional Background

        4: CCF is a small executive state agency responsible for supporting cross-system

 coordination and collaboration among New York State's health, education, and human service

 systems to improve outcomes for all of New York's children and families.
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         5. I have worked at CCF for nearly 18 years, providing legal counsel and programmatic

  support and oversight of agency operations, including federal grant administration.

         6. Since 1991, CCF has administered the Head Start Collaboration Project, a grant staffed

  by the New York State Head Start Collaboration Director housed at CCF, and funded by the Office

  of Head Start (OHS) under the Administration for Children and Families (ACF) within the U.S.

  Department of Health and Human Services (HHS). The Head Start Collaboration Project provides

  a structure and a process for OHS to work with state agencies and local entities to leverage

  common efforts and resolve challenges to fonnulate, implement, and improve state and local

  policies and practices to best support young children and their families.

         7. The New York State Head Start Collaboration Project conducts community needs

  assessments to assess significant changes in New York communities that may affect stakeholders.

  Such assessments help programs evaluate how major shifts may impact operations, services, and

  families. Additionally, the Head Start Collaboration Project Director monitors and responds to

  common challenges, like those resulting from the rapid change in directives and operations by

  HHS to the administration of Head Start grants since late January 2025.

  The Head Start Program

         8. Head Start provides vital services at no cost to eligible families with young children,

  birth to age 5. Eligible families include those with low-incomes, children in foster care, or children

  living in temporary housing. In addition to providing high quality child care and early childhood

  education, Head Start programs connect children and families to social services and supports. Head

  Start programs integrate state benefit programs to provide children with meals and snacks during

  the day, as well as diapers for young children, enrollment assistance in health insurance plans, and

  supports for parents including connections to career services and adult education. Many Head Start



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  families live paycheck to paycheck, making them susceptible to homelessness if they face job loss.

 The same is true of many Head Start staff whose wages are so low that they struggle to make ends

 meet.

          9. The day-to-day operations of the Head Start program historically have been

 administered at the federal level by OHS employees working out of HHS Regional Offices.

 Regional office staff, including program specialists, fiscal specialists, and other program

 leadership, play an integral role in ensuring that the services to enrolled children and families are

 reliable, high-quality, and fiscally sound. They help interpret federal regulations and provide

 essential support to Head Start grant recipients. Prior to reconfiguring the Regional Offices of OHS

 in April 2025, the Region 2 office (located in New York City) supported the grant recipients in

 New York, New Jersey, the Virgin Islands, and Puerto Rico.

         10. Head Start grant recipients typically are awarded a competitive grant for a five-year

 time frame. Grant recipients usually submit a refunding application once a year (with grant funding

 renewal dates staggered over the course of the year) to enable them to continue seamlessly

 providing services to enrolled children and families in their community. After the refunding

 application is approved by OHS, grant recipients receive a Notice of Award and have access to the

 Payment Management System (PMS) where they can draw down funds in small increments and

 with a lead time of just a few days, to pay operating expenses (payroll, rent food, etc.). Currently,

 however, because the federal government is operating under a Continuing Resolution until

 September 30, 2025, funding renewals by OHS are for shorter periods, six months (not annual)

 periods. This increased frequency of grant renewals places an additional burden on OHS, amplified

 by the elimination and reconfiguration of Regional Offices and significantly fewer OHS staff to

 support Head Start grantees, funding delays and disruptions now are common.



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          11. There are 147 Head Start Programs (administering 274 Head Start grants) in New York

  State, serving approximately 43,327 children from birth to school entry and 900 pregnant women.

  14,400 staff serve these young children and families in 927 sites across the state.

          12. I am providing this declaration to explain the impact of recent federal actions and

  directives, HHS and OHS reorganization, and other changes to OHS operations on Head Start

  programs in New York State. These changes have placed thousands of our state's most vulnerable

  children and families in limbo. Significant stress and hardship have been experienced due to the

  possible and actual disruptions to children's care, education, support services, food security, health,

  and well-being, and the possibility and actuality of parents having to miss work, risk losing their

  jobs, and/or drop out of education and vocational programs. Like_Head Start children and families,

  many Head Start staff also live in or near poverty levels, and experience financial and mental

  health stressors when a paycheck is anticipated to be missed or delayed.

  Recent Changes in Head Start Operations

          13. On January 27, 2025, the Office of Management and Budget froze all funds for federal

  funding recipients in the HHS Payment Management System (PMS), including Head Start grant

  recipients. Following multiple legal challenges and injunctions, the freeze was reportedly lifted.

  Nevertheless, Head Start programs in New York continued to face challenges drawing down

  approved grant funds and experienced looming uncertainty about the availability of future funds.

  Approximately 20 Head Start programs' expecting a Notice of Award for refunding starting in



  1 Bedford-Stuyvesant Early Childhood Development Center, Inc. CEO Empowers, Inc., Columbia Opportunities,

  Inc., Committee for Early Childhood Development Day Care Center, Inc., Community Action Planning Council of
  Jefferson County, Inc., East Side House, Family Enrichment Network, Inc., Head Start Of Eastern Orange County,
  Opportunities for Otsego, Inc., The Community Program Centers of Long Island, LEAP (formerly Washington
  County Economic Opportunity Council), Lifeworks Community Action Agency, Inc., Long Island Child and Family
  Development Centers, Inc., Promesa Head Start, Tompkins Communjty Action, Ulster County Community Action
  Committee, Inc.,. United Talmudical Academy of Borough Park Head Start, Warren County Head Start, Inc., and
  West Harlem Community Organization, Inc.

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 April or May received no updates on the status of their applications. Similarly, grantees attempting

 to draw down funds received messages of ' pending' or 'in process' when they requested funds in

 PMS. As Head Start programs rely on steady, predictable access to maintain program operations

 to pay staff, rent, food vendors, and other essential expenses, these 20 programs had to make

 difficult choices with limited information about whether to remain open or suspend operations.

         14. In early February 2025, the Cattaraugus-Wyoming County Head Start program was

 forced to temporarily close when approved funds could not be accessed. Approximately 200

 children had no care, and their parents were not able to work or go to school, and 87 program staff

 were furloughed. After the Head Start center re-opened, the agency's chief executive officer

 reported that parents and staff remained very concerned. She said parents were starting to look at

 other placements and staff were asking whether they should start looking for a new job.

         15. In early February 2025, the Great Neck-Manhasset Head Start, one of the smallest

 Head Start programs in the state, with an annual grant of$577,859 to serve 46 families and employ

 11 staff, was on the brink of closure. The program notified families that it would have to suspend

 programming if they could not access their funding. While funding was received at the last minute,

 the program and the families faced an existential threat.

         16.   On April 1, 2025, the OHS regional office serving New York State (Region 2) was

 abruptly closed. Regional Offices have provided long-standing and essential operational assistance

 to Head Start grantees, ensuring the delivery of high-quality early childhood care, education,

 health, nutrition, and other supports. Before the closure of the Region 2 OHS, staff in this office

 administered approximately $706.5 million in annual funding directly to Head Start programs in

 New York. Region 2 staff were consistently available to promptly respond to programmatic

 questions and needs. With the closure of the Region 2 OHS, New York Head Start grantees had no



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  designated federal staff to help them, with training and technical assistance questions, receiving/

  filing of required reports (e.g., of child injuries or accidents), providing updates on the status of

  grant applications or pending requests for payments, or answering questions on compliance arising

  with the rapidly changing federal landscape. With the enormous void left by the abrupt elimination

  ofregional OHS staff on whom the state's Head Start grantees had long relied, the New York State

  Head Start Collaboration Director was inundated with frantic calls and questions. Concerns from

  •Head Start programs on the brink of closing were heard, monitored, and shared, but in the absence

  of any guidance or assistance from OHS, no further aid could be offered.

          17. Following the closure of the Region 2 OHS, and "reductions in force" eliminating

  more than half of the OHS staff in Washington D.C. (out of 230 staff, only 95 staff remained),

  Head Start grantees who attempted to contact OHS about their anticipated Notice of Award were

  directed to use the Correspondence feature within the Head Start Enterprise System (HSES) as

  their primary means of communication. Grantees reported receiving either a basic answer (e.g.,

  OHS is working on your funding request) or no response. For general questions, grantees were

  directed to a centralized OHS email mailbox. As with questions submitted in HSES, grantees

  received limited or no answers to their questions. Desperate for help, some grantees then contacted

  the New York State Head Start Collaboration Director, who shared a federal contact she had

  learned about from the National Head Start Association and Head Stait Collaboration Directors

  from other states. The OHS contact was Heather Wanderski, Program Operations Director,

  responsible for supporting grant recipient operations. No responses to these direct messages were

  reportedly received either.

          18.   On April 3, 2025, the chief financial officer from one Head Start program

  (Community Action Planning Council of Jefferson County) awaiting its Notice of Award,



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 anticipated to be received during the prior month of March, expressed how critical Head Start is

 to their community and the agency's detennination to operate as long as possible to avoid an

 interruption in services. Yet, without access to the remainder of their funds, their resources would

 be stretched too thin if the renewal award was not received within a few days. The New York State

 Head Start Collaboration Director received similar messages from other Head Start grantees while

 they waited for their grant awards or access to funding requested through PMS.

          19.    Further delaying and exacerbating delays and uncertainties about funding, on April

 7, 2025, the Department of Government Efficiency began intercepting Head Start grantees'

 requests to draw down their money for routines requests (such as payroll) through PMS by

 directing them to justify "what the award is for, what the funds will be used for, and why it is

 necessary." Programs were directed to send an email to defendthespend@hhs.gov, adding another

 step in the payment request process, largely duplicative of the grantee's Notice ofAward. Programs

 were surprised by this new requirement and unclear about what was expected and whether they

 needed to answer the questions. In addition to concerns about payments being further delayed,

 questions about whether the new requirement violated the Paperwork Reduction Act (cited in the

 Notice ofAward) were raised by the president of the New York State Head Start Association during

 an April 8th phone call with the New York State Head Start Collaboration Director.

          20.    On April 16, 2025, HHS amended its Grants Policy Statement2 to add a certification

 requirement stating that agencies that accept grant awards "are certifying that ... they do not and

 will not during the term of this financial assistance operate any programs that advance or promote

 DEI, DEIA, or discriminatory equity ideology in violation of Federal anti-discrimination laws." In

 the event that a funding recipient engages in impermissible "DEIA," consequences might include



 2 https://www.hhs.gov/sites/default/files/hhs-grants-policy-statement-april-2025 .pdf


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  a claw back of grant funds and civil and criminal liability for misrepresentation under the False

  Claims Act. No guidance was provided about what was considered a "diversity, equity, and

  inclusion (DEi) initiative, an activity "advancing" or "promoting" "DEJA," or "discriminatory

  equity ideology." In addition, no guidance was provided on how to reconcile these limitations on

  Head Start programming content with the conflicting obligations under the Head Start Act to serve

  the "diverse needs" of communities. Head Start grantees expressed confusion about applying this

  new Certification requirement (e.g., would specialized services for children with disabilities, food

  that meets cultural or religious dietary needs, or interpretation services violate the new

  requirements?). Grantees also reported their fear of the extreme consequences of non-compliance

  (losing their funding, having funds clawed back, or being subject to investigation).

          21.   Since March 2025, the New York State Head Start Collaboration Project Director

  conducted ongoing surveys to Head Start grantees identified as being at immediate risk of closure

  due to delays in receiving federal funds, specifically asking the programs to estimate how long

  they could operate ifthere was a disruption in funding. As many programs operate with razor thin

  margins, responses ranged from one week to a maximum of two months. Numerous messages of

  distress from Head Start programs in fear of closing were received, too. Programs shared that they

  were grappling with the difficult choice of whether to remain open while waiting for funds to

  become available, and facing the possibility of being unable to cover payroll, pay food vendors,

  rent, and other program expenses.

         22.    Programs also reported being unable to fill open staff positions due to funding

  uncertainty, threatening their ability to maintain sufficient staffing and continue operating.

         23.    Head Start grantees in New York continued to report funding issues. On April 14,

  2025, the Warren County Head Start executive director was poised to suspend programming for



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  183 children and families and lay off 78 staff. Following multiple communications with elected

  officials, including U.S. Senators Schumer and Gillibrand and Congresswoman Stefanik, and the

  local media outlets, funding was received at the last possible moment. While closure was

  ultimately avoided, Head Start families experienced significant fear of the possible temporary

  and/or permanent disruption in services, as did program staff, some of whom reported looking for

  another job in anticipation of the program closing.

         24.   Even for programs that did not have to close, the anticipated delays and disruption in

  accessing funding threatened the continued operation and long-term viability of their programs

  and caused significant distress and harm. Head Start program directors repeatedly shared that the

  chaos and uncertainty were negatively impacting their Head Start parents and staff. Parents asked

  if they would have care so they could keep working, concerned that they would lose their jobs.

  Similarly, Head Start staff expressed concerns about the stability of their jobs. Program directors

  were heavily burdened by the additional work and troubled by the lack of certainty about the future

  to remain open and provide critical services to Head Start children and families in their

  communities.

  Conclusion

         25.   The blitz of changes to the Head Start Program by HHS have been deeply concerning

  and harmful to New York State children and families and the dedicated staff who serve them. These

  changes have been marked by chaos, a lack of clarity, uncertainty, and panic. With the closure of

  the OHS Region 2 office, Head Start programs have been left without essential guidance and

  support, and their ability to deliver Head Start's high-quality early care .and education, health,

  nutrition, and other supports significantly impeded, posing a substantial risk of irreparable and




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   ongoing hann to the thousands of children and families who depend on these critical services and

   the providers who care for them.




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